                IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION

 COMMONSPIRIT HEALTH,                     )
                                          )
       Plaintiff/Counter-Defendant,       )
                                          )
       v.                                 )
                                          )     Case No. 3:21-cv-00460
 HEALTHTRUST PURCHASING                   )
 GROUP, L.P., and                         )
 HPG ENTERPRISES, LLC,                    )
                                          )
       Defendants/Counterclaimants.       )


   MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
RESPONSE TO COMMONSPIRIT HEALTH’S MOTION FOR RESOLUTION
            OF DISCOVERY DISPUTE UNDER SEAL


      Defendants/Counterclaimants (“HealthTrust”) have moved the Court to seal

their recently-filed Response to Plaintiff/Counter-Defendant CommonSpirit Health’s

(“CommonSpirit”) Motion for Resolution of Discovery Dispute pursuant to Local Rule

5.03, Local Rule 7.01, Section 5.07 of Administrative Order No. 167-1, Federal Rule

of Civil Procedure 5.2, and the Agreed Protective Order governing this case (see ECF

No. 49).

      CommonSpirit has moved to seal its motion, including the supporting

declaration, and has designated its privilege log as confidential. HealthTrust’s

Response necessarily discusses that motion, declaration, and CommonSpirit’s

privilege log. If those papers are sealed, then the Response should be sealed as well.




                                  —1—
  Case 3:21-cv-00460 Document 104 Filed 12/07/22 Page 1 of 5 PageID #: 1488
       Pursuant to Local Rule 5.03(a), the following elements of the Response

reference, discuss, quote from, or include information that (i) CommonSpirit

designated as “confidential” or “highly confidential attorneys’ eyes only,” (ii)

CommonSpirit has moved to file under seal, or (iii) this Court sealed by Order:

       •   Page 1, Paragraph 2, in which HealthTrust quotes CommonSpirit’s portion
           of the Parties’ Supplemental Discovery Dispute Statement of November
           11th (ECF No. 89), which the Court ordered to be sealed (ECF No. 94);

       •   Page 1, Paragraph 2, in which HealthTrust discusses a document that
           CommonSpirit submitted in camera and designated as “highly confidential
           attorneys’ eyes only”;

       •   Page 2, Paragraph 2, in which HealthTrust references and discusses the
           Declaration of John Frye, which CommonSpirit filed under seal as
           “CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER
           DATED SEPTEMBER 13, 2021” (ECF No. 99);

       •   Page 2, Paragraph 2, in which HealthTrust references an argument raised
           by CommonSpirit in its Motion for Resolution of Discovery Dispute, which
           CommonSpirit filed under seal as “CONFIDENTIAL INFORMATION
           SUBJECT TO PROTECTIVE ORDER DATED SEPTEMBER 13, 2021”
           (ECF No. 100);

       •   Page 3, Paragraph 1, in which HealthTrust quotes from and discusses an
           entry from CommonSpirit’s privilege log, which CommonSpirit designated
           as “confidential”;

       •   Page 3, Paragraph 2, in which HealthTrust quotes from and discusses an
           entry from CommonSpirit’s privilege log, which CommonSpirit designated
           as “confidential”; and

       •   Page 3, Paragraph 3, in which HealthTrust directly quotes from and
           discusses an entry from CommonSpirit’s privilege log, which CommonSpirit
           designated as “confidential.”

These elements make up the bulk of the Response, warranting the sealing of the

document in its entirety. 1


1To the extent that the Court would prefer HealthTrust to redact the Response, HealthTrust will do
so promptly.


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    Case 3:21-cv-00460 Document 104 Filed 12/07/22 Page 2 of 5 PageID #: 1489
      The Protective Order governing this litigation provides that any party

intending to file materials “designated as ‘Confidential’ or ‘Attorney’s Eyes Only’ with

a court or to disclose in a court filing information designated as ‘Confidential’ or

‘Attorney’s Eyes Only,’ the party shall take all steps required by that particular Court

to file the materials or filing under seal.” (See ECF No. 49, at 9) (emphasis added).

By means of CommonSpirit’s confidentiality designations and its filing the Motion for

Resolution of Discovery Dispute and the Declaration of John Frye under seal,

HealthTrust’s Response contains information that is protected by the Protective

Order.

                                   CONCLUSION

      In light of CommonSpirit’s confidentiality designations, HealthTrust is

required under the Protective Order to file its Response to CommonSpirit’s Motion

under seal. HealthTrust respectfully requests that the Court exercise its discretion—

pursuant to Federal Rule of Civil Procedure 26(c) and the principles set forth in

Procter & Gamble Co. v. Banker’s Trust Co., 78 F.3d 219 (6th Cir. 1996) and Brown

& Williamson v. FTC, 710 F.2d 1165 (6th Cir. 1983)—and place under seal the

Response, if the Court places under seal CommonSpirit’s motion and the supporting

declaration.

                                    Respectfully submitted,

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                                  —3—
  Case 3:21-cv-00460 Document 104 Filed 12/07/22 Page 3 of 5 PageID #: 1490
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                                —4—
Case 3:21-cv-00460 Document 104 Filed 12/07/22 Page 4 of 5 PageID #: 1491
                         CERTIFICATE OF SERVICE

       I hereby certify that, on December 7, 2022, a true and accurate copy of the
foregoing has been served by the Court’s electronic filing system on the following:

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                                  —5—
  Case 3:21-cv-00460 Document 104 Filed 12/07/22 Page 5 of 5 PageID #: 1492
